                        Case 2:18-cr-20374-SFC-APP ECF No. 17 filed 07/12/18                  PageID.40     Page 1 of 2



                                                    UNITED STATES DISTRICT COURT
                                                    EASTERN DISTRICT OF MICHIGAN
                                                          SOUTHERN DIVISION
                                                        _________________________

                        UNITED STATES OF AMERICA,

                                       Plaintiff,                                    Case No. 18-20374
                        -vs-
                                                                                     Honorable SEAN F. COX
                        ANGEL FOUNTAIN.

                                    Defendant.
                        __________________________________________________________________/
                        United States Attorney                  Haddad Law Firm, PLC
                        By: Andrew Lievense (P68925)            By: Issa G. Haddad (P71699)
                        Assistant United States Attorney        Attorney for Defendant
                        Attorney for Plaintiff                  30600 Telegraph Suite 3150
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                        313-226-9665                            issa@haddlaw.com
Haddad Law Firm, PLC.




                        Andrew.lievense@usdoj.gov
                        __________________________________________________________________/

                                              ORDER GRANTING MOTION TO WITHDRAW

                               The parties having appeared for the motion on July 11, 2018, and the court being fully

                        advised in the premise:

                               IT IS HEREBY ORDERED THAT Issa G. Haddad’s motion to withdraw as counsel of

                        record for Defendant Angel Fountain is granted.

                               IT IS FURTHER ORDERED that the Court will hold a status conference in this matter

                        on Friday, July 27, 2018 at 11:00 a.m.

                               IT IS FURTHER ORDERED that the time between July 11, 2018, and the date of the

                        status conference with new counsel is excluded pursuant to the provisions of the Speedy Trial

                        Act, 18 U.S.C. § 3161(h)(7). This Court finds that the ends of justice served by this delay




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                        Case 2:18-cr-20374-SFC-APP ECF No. 17 filed 07/12/18                   PageID.41   Page 2 of 2



                        outweigh the best interest of the defendant and the public in a speedy trial.


                        Dated: July 12, 2018                                  s/Sean F. Cox
                                                                              Sean F. Cox
                                                                              U. S. District Judge


                        I hereby certify that on July 12, 2018, the document above was served on counsel and/or the
                        parties of record via electronic means and/or First Class Mail.

                                                                              s/Jennifer McCoy
                                                                              Case Manager
Haddad Law Firm, PLC.




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